     Case 4:22-cv-01782 Document 23 Filed on 10/01/23 in TXSD Page 1 of 2




                           UNITED STATES DISTRICT COURT
                                           FOR THE
                            SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
DAVID AND FLOMARA MCGREGOR §
     Plaintiffs             §
                            §
Vs.                         §                       CASE NO. 4:22-cv-01782
                            §
FAY SERVICING, LLC, RESCONN §
CAPITAL MANAGEMENT, LLC     §
& DAVID E. BROWN            §
     Defendants.            §


     DEFENDANTS’ JOINDER AND ADOPTION OF FAY SERVICING, LLC’ S PRETRIAL ORDER

       Defendants, RESCONN Capital Management, LLC and David E. Brown hereby join in

and adopt by reference Defendant, Fay Servicing, LLC’s Pretrial Order, previously filed with the

Court as Document 22 and ask the Court to deny Plaintiffs’ claims and to grant Defendants,

RESCONN Capital Management, LLC and David E. Brown such other and further relief, in law

or in equity, to which they may show themselves justly entitled.

                                                    Respectfully submitted,

                                                    CAIN | KING

                                                    /s/ Lee Keller King
                                                        Melina B. Cain, Attorney in Charge
                                                        Southern District No. 24959
                                                        State Bar No. 00797873
                                                        melina@houstonlegal.services
                                                        Lee Keller King
                                                        Southern District No. 18847




Joinder & Adoption of Fay
Servicing, LLC’s Pretrial Order                                                          Page 1
     Case 4:22-cv-01782 Document 23 Filed on 10/01/23 in TXSD Page 2 of 2




                                                           State Bar No.: 00792016
                                                           lee@houstonlegal.services
                                                           416 Westheimer
                                                           Houston, Texas 77006
                                                           (713) 623-8200 (Phone)
                                                           (713) 623-8400 (Facsimile)
                                                           Attorneys for Defendants,
                                                           RESCONN Capital Management, LLC
                                                           & David Brown


                                      CERTIFICATE OF SERVICE

         I certify that I served a true and correct copy of the foregoing on all parties as provided

Rule 5(b) of the Federal Rules of Civil Procedure, as shown below, October 1, 2023, as shown

below:

Plaintiffs, pro se, David and Flomara McGregor, via the Court’s CM/ECF system and/or email to
flom22@yahoo.com and earlmc22003@yahoo.com.

Robert T. Mowrey, attorney for Fay Servicing, LLC via the Court’s CM/ECF system to
rmowrey@lockelord.com.


                                                        /s/ Lee Keller King




Joinder & Adoption of Fay
Servicing, LLC’s Pretrial Order                                                                Page 2
